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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

________________________________________________
                                                )
HAIFA EL SADI,                                  )
       Plaintiff                                )
   v.                                           )
                                                )                  C.A. No.
KIRSTJEN M. NIELSEN, Secretary, U.S.            )
Department of Homeland Security; JEFFERSON      )
SESSIONS, U.S. Attorney General; U.S.           )
DEPARTMENT OF HOMELAND SECURITY; U.S. )
CITIZENSHIP AND IMMIGRATION SERVICES,           )
SERVICES, DAVID ROARK, Director, USCIS Texas, )
Service Center.                                 )
      Defendants.                               )
________________________________________________)

                               PLANTIFF’S COMPLAINT FOR
                                  WRIT OF MANDAMUS

       This action is brought by the Plaintiff, Haifa El Sadi, against the Defendants to compel

action on an approved petition properly filed by the Plaintiff. The Defendants’ failure to

properly perform their duties in connection with the approved petition has caused serious delay

in the Plaintiff’s daughter’s ability to immigrate to the United States.

                                             PARTIES

1.     The Plaintiff, Haifa El Sadi, is a Canadian Citizen and Lawful Permanent Resident of the

United States. The Plaintiff resides at 382 Ocean Avenue, Unit 505, Revere, Massachusetts

02151. Ms. El Sadi became a lawful permanent resident of the United States on August 31, 2016.

She has a 21 year old daughter, Sara Hmouz, who was born on March 13, 1997 and is a citizen

of Canada. The Plaintiff wants her daughter to follow to join her in the United States.

2.     The Defendant, Kirstjen M. Nielsen, is being sued in her official capacity as the

Secretary of the Department of Homeland Security. In this capacity, she is charged with the
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administration and enforcement of the immigration laws, pursuant to 8 U.S.C., §1103, and she

possesses extensive discretionary powers to grant certain relief to non-U.S. Citizens. More

specifically, the Secretary of the Department of Homeland Security is responsible for the

adjudication of visa petitions, applications to adjust status, and various other immigration

applications pursuant to §§ 204, 245, et. seq. of the Immigration and Nationality Act (“INA”), 8

U.S.C. § 1154, 8 U.S.C. §1255, et. seq. The U.S. Citizenship and Immigration Services is an

agency within the Department of Homeland Security to whom the Secretary’s authority has in

part been delegated, and is subject to the Secretary’s supervision.

3.     The Defendant, Jefferson Sessions, is being sued in his official capacity as the Attorney

General of the United States. In this capacity, he is also charged with the administration and

enforcement of the immigration laws, pursuant to 8 U.S.C., §1103, and he possesses extensive

discretionary powers to grant certain relief to non-U.S. Citizens. More specifically, the Attorney

General, together with the Secretary of the Department of Homeland Security, is responsible for

the adjudication of visa petitions, applications to adjust status, and various other immigration

applications pursuant to §§ 204, 245, et. seq. of the Immigration and Nationality Act (“INA”), 8

U.S.C. § 1154, 8 U.S.C. §1255, et. seq. The U.S. Citizenship and Immigration Services is an

agency within the Department of Justice to whom the Attorney General’s authority has in part

been delegated, and is subject to the Attorney General’s supervision.

4.     The Defendants, Department of Homeland Security (hereinafter “DHS”) and the

U.S. Citizenship and Immigration Services (hereinafter “CIS”) are the agencies responsible

for enforcing the INA and for adjudicating and properly acting on the petition filed by the

Plaintiff to allow her daughter, Sara Hmouz, to immigrate to this country.



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5.     The Defendant, U.S. Citizenship and Immigration Services, includes the Texas

Service Center. The Defendant, David Roark, is the Director of the Texas Service Center

which is the place where Haifa El Sadi’s application to adjust status and application for action on

an approved application were adjudicated. The Texas Service Center is located at 4141 North St.

Augustine Road, Dallas, TX 75227 and has an alternative mailing address of P.O. Box 851488 –

Dept. A, Mesquite, Texas 75185-1488.

                                         JURISDICTION

6.     Jurisdiction in this case is proper under 28 U.S.C. §§ 1331 and 1361, 5 U.S.C. § 701 et

seq., and 28 U.S.C. § 2201 et seq. Relief is requested pursuant to said statutes. This action is not

barred by the Real ID Act, P.L. 109-13, 119 Stat. 231 (May 11, 2005). The Plaintiff files this

case merely to compel action on an approved petition for valid reasons as set forth herein. The

Plaintiff does not seek review of a discretionary decision of the Defendants.

                                              VENUE

7.     Venue is proper in this court, pursuant to 28 U.S.C. §1391(e), in that this is an action

against officers and agencies of the United States in their official capacities, brought in the

District where the Plaintiff and a Defendant reside and where a substantial portion of the events

or omissions giving rise to the Plaintiff’s claims occurred. More specifically, the Plaintiff resides

in Massachusetts and she filed a petition to commence the immigration process for her daughter

which the USCIS Texas Service Center approved by notice dated September 8, 2016, but failed

to act in accordance with the instructions on the form.

                                EXHAUSTION OF REMEDIES

8.     The Plaintiff has exhausted her administrative remedies. The Plaintiff is now a lawful

permanent resident of the United States who filed a petition to have the Defendants notify the

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National Visa Center (NVC) when she became a resident so her then minor daughter could

immigrate to this country. The Defendant, USCIS Texas Service Center, approved the

application by notice dated September 6, 2016, but has failed and/or refused to forward the

information and file to the NVC and the U.S. Consulate in Montreal, Canada for further

processing of the case. On countless occasions over the past year and a half, the Plaintiff and her

attorney have requested the USCIS to forward the information and the file to the NVC and have

made many inquiries regarding the status of the situation. However, as of this date, the USCIS

has failed to properly fulfill its adjudicative function on the Plaintiff’s petition.

                                        CAUSE OF ACTION

9.      The Plaintiff, Haifa El Sadi, is the beneficiary of an approved visa petition (Form I-140)

as an Outstanding Professor in the EB-1 visa category. The USCIS approved the petition by

notice dated May 17, 2016. (A copy of the approval notice with required redactions is attached

hereto as Exhibit A). As the beneficiary of an approved visa petition, on July 1, 2016, the

Plaintiff filed for adjustment of status with the USCIS. In conjunction with her application to

adjust status, the Plaintiff filed Form I-824 and paid the required filing fee of $405.00. The

purpose of Form I-824 – entitled “Application for Action on an Approved Application or

Petition” - is for the USCIS to notify the NVC and the appropriate Consulate when the Plaintiff’s

application to adjust status was approved so that members of her family could seek to immigrate

to the United States. (Copies of the receipt and Form I-824 as filed by the Plaintiff with the

USCIS are attached hereto as Exhibit B). The Plaintiff filed Form I-824 with her application to

adjust status in order to expedite her minor daughter’s immigration process and also to protect

her daughter from “aging-out” when she turned 21 and would no longer be able to benefit from

her mother’s approval. The immigration process the Plaintiff’s daughter sought to pursue is

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commonly known as “following to join” and by filing Form I-824 the Plaintiff’s minor children

and spouse could immigrate to this country. Additionally, by filing Form I-824 the Plaintiff was

protecting her daughter’s age for the purpose of the Child Status Protection Act. Pursuant to the

Child Protection Status Act, the Plaintiff’s daughter would be able to immigrate even if she

turned 21 prior to entering the country.

10.    By notice dated August 31, 2016 the USCIS approved the Plaintiff’s application to adjust

status and she became a lawful permanent resident. By notice dated September 8, 2016 the

USCIS approved the Plaintiff’s Form I-824 and indicated in the notice it would notify the

Consulate in Montreal of the approval so that the Plaintiff’s eligible family members could begin

their immigration process. (A copy of the approval notice is attached hereto as Exhibit C). On

page 2 of Form I-824 the Plaintiff asked the USCIS to notify the Consulate, “through the NVC”

of her adjustment. See Exhibit B.

11.    As of this date, the USCIS has failed to properly notify the NVC of the Plaintiff’s

approval despite several notifications that it had done so. Once the NVC receives notification of

the Plaintiff’s adjustment of status and of the I-824 approval, the NVC will issue fee bills for

Sara Hmouz and she can then commence her immigration process. However, until such time as

the NVC receives notice from the USCIS of the approval and until such time as the NVC enters

the case in its system and issues fee bills, the Plaintiff’s daughter cannot commence her

immigration process. The case has now been completely stalled for over one and a half years

because of the Defendants’ negligence.

12.    The Plaintiff paid all required fees for her application to adjust status and the application

for action on the approved application and has complied in all respects with the Immigration and

Nationality Act regarding her case and the case for her daughter. The government’s failure to

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forward the approval notice and file to the NVC as requested in Form I-824 has caused the

Plaintiff and her daughter to suffer constant anxiety and has put their lives on hold. As a direct

result of the Defendants’ failure to perform their duties to properly adjudicate the petition, the

Plaintiff’s daughter cannot apply for her immigrant visa. As a lawful permanent resident, the

Plaintiff is eligible to have her minor children and spouse join her in this country through the

immigration process. The USCIS’ failure to adjudicate the Plaintiff’s petition and to act in

accordance with the instructions on Form I-824 has had a profound impact on the Plaintiff and

her daughter and they are entitled to action on the application as requested.

14.    The Defendants, in violation of 28 U.S.C. §§ 1331 and 1361, 5 U.S.C. § 701 et seq., and

28 U.S.C. § 2201 et seq., are unlawfully withholding or unreasonably delaying action on the

Plaintiff’s approved application and have failed to carry out the adjudicative functions delegated

to them by law with regard to the Plaintiff’s case. The Plaintiff is entitled to have the USCIS

properly forward her approval notice and her file to the NVC and demands that the Defendants

take such action. The Plaintiff now seeks a Court order requiring the Defendants to act on her

case as requested in Form I-824.

                                    PRAYERS FOR RELIEF

       WHEREFORE the Plaintiff respectfully prays that this honorable Court enter an order:

(a)    accepting jurisdiction over the subject matter in this action;

(b)    requiring Defendants to act in accordance with the Plaintiff’s Form I-824 and to notify
       the U.S. Consulate in Montreal, Canada, through the National Visa Center that her status
       has been adjusted to that of a lawful permanent resident;

(c)    requiring Defendants to forward the Plaintiff’s information, approval notices, and file to
       the National Visa Center and the U.S. Consulate in Montreal, Canada and to ensure that
       the National Visa Center issues fee bills for the Plaintiff’s daughter, Sara Hmouz, so she
       can commence her immigration process;


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(d)   awarding the Plaintiff all costs and reasonable attorney’s fees associated with this matter;
      and

(e)   granting such other relief at law and in equity as justice may require.


Respectfully submitted,

Haifa El Sadi
By her attorney,



/s/ Anthony Drago, Esq.____________
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